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                   UNITED STATES DISTRICT COURT
                   SOUTHERN DISTRICT OF GEORGIA
                         AUGUST DIVISION

UNITED STATES OF AMERICA               )       CASE NO: 1:21-CR-48
                                       )
v.                                     )
                                       )
SAMMIE LEE SIAS                        )

                    GOVERNMENT'S REQUEST TO CHARGE

        Now comes the United States of America, by and through David H. Estes,

 United States Attorney for the Southern District of Georgia, and the undersigned

 Assistant United States Attorneys, and files this request to charge the jury on the

 following subjects, as taken from the Eleventh Circuit Pattern Jury Instructions,

 last revised 2020, unless otherwise noted:

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Requested jury instructions follow in complete form.

      The Government also respectfully requests the right to supplement its

Request to Charge based upon the facts that may develop at trial.

      Respectfully submitted, this 8th day of July 2022.


                                       DAVID H. ESTES
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                                   P1
                Preliminary Instructions – Criminal Cases

Members of the Jury:

      Now that you have been sworn, I need to explain some basic principles

about a criminal trial and your duty as jurors. These are preliminary

instructions. At the end of the trial I will give you more detailed instructions.

Duty of jury:

      It will be your duty to decide what happened so you can determine

whether the defendant is guilty or not guilty of the crime charged in the

indictment. At the end of the trial, I will explain the law that you must follow to

reach your verdict. You must follow the law as I explain it to you even if you do

not agree with the law.

What is evidence:

      You must decide the case solely on the evidence presented here in the

courtroom. Evidence can come in many forms. It can be testimony about what

someone saw or heard or smelled. It can be an exhibit admitted into evidence. It

can be someone’s opinion. Some evidence proves a fact indirectly, such as a

witness who saw wet grass outside and people walking into the courthouse

carrying wet umbrellas. Indirect evidence, sometimes called circumstantial

evidence, is simply a chain of circumstances that proves a fact. As far as the law

is concerned, it makes no difference whether evidence is direct or indirect. You

may choose to believe or disbelieve either kind and should give every piece of

evidence whatever weight you think it deserves.


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What is not evidence:

      Certain things are not evidence and must not be considered. I will list

them for you now:

      • Statements and arguments of the lawyers. In their opening
       statements and closing arguments, the lawyers will discuss the
       case, but their remarks are not evidence;

      • Questions and objections of the lawyers. The lawyers’ questions
       are not evidence. Only the witnesses’ answers are evidence. You
       should not think that something is true just because a lawyer’s
       question suggests that it is. For instance, if a lawyer asks a
       witness, “you saw the defendant hit his sister, didn’t you?” – that
       question is no evidence whatsoever of what the witness saw or
       what the defendant did, unless the witness agrees with it.

      There are rules of evidence that control what can be received into

evidence. When a lawyer asks a question or offers an exhibit and a lawyer on the

other side thinks that it is not permitted by the rules of evidence, that lawyer

may object. If I overrule the objection, then the question may be answered or the

exhibit received. If I sustain the objection, then the question cannot be answered,

and the exhibit cannot be received. Whenever I sustain an objection to a

question, you must ignore the question and not try to guess what the answer

would have been.

      Sometimes I may order that evidence be stricken and that you disregard

or ignore the evidence. That means that when you are deciding the case, you

must not consider that evidence.

      Some evidence is admitted only for a limited purpose. When I instruct you

that an item of evidence has been admitted for a limited purpose, you must

consider it only for that limited purpose and no other.

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Credibility of witnesses:

      In reaching your verdict, you may have to decide what testimony to believe

and what testimony not to believe. You may believe everything a witness says,

or part of it, or none of it. In considering the testimony of any witness, you may

take into account:

      • The opportunity and ability of the witness to see or hear or know
        the things testified to;

      • The witness’s memory;

      • The witness’s manner while testifying;

      • The witness’s interest in the outcome of the case and any bias or
         prejudice;

      • Whether other evidence contradicted the witness’s testimony;

      • The reasonableness of the witness’s testimony in light of all the
       evidence; and

      • Any other factors that bear on believability.

      I will give you additional guidelines for determining credibility of

witnesses at the end of the case.

Rules for criminal cases:

      As you know, this is a criminal case. There are three basic rules about a

criminal case that you must keep in mind.

      First, the defendant is presumed innocent until proven guilty. The

indictment against the defendant brought by the government is only an

accusation, nothing more. It is not proof of guilt or anything else. The defendant

therefore starts out with a clean slate.




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      Second, the burden of proof is on the government until the very end of the

case. The defendant has no burden to prove his innocence or to present any

evidence, or to testify. Since the defendant has the right to remain silent and

may choose whether to testify, you cannot legally put any weight on a

defendant’s choice not to testify. It is not evidence.

      Third, the government must prove the defendant’s guilt beyond a

reasonable doubt. I will give you further instructions on this point later, but bear

in mind that the level of proof required is high.

Conduct of the jury:

      Our law requires jurors to follow certain instructions regarding their

personal conduct in order to help assure a just and fair trial. I will now give you

those instructions:

      1. Do not talk, either among yourselves or with anyone else, about
      anything related to the case. You may tell the people with whom
      you live and your employer that you are a juror and give them
      information about when you will be required to be in court, but you
      may not discuss with them or anyone else anything related to the
      case.

      2. Do not, at any time during the trial, request, accept, agree to
      accept, or discuss with any person, any type of payment or benefit
      in return for supplying any information about the trial.

      3. You must promptly tell me about any incident you know of
      involving an attempt by any person to improperly influence you or
      any member of the jury.

      4. Do not visit or view the premises or place where the charged
      crime was allegedly committed, or any other premises or place
      involved in the case. And you must not use Internet maps or Google
      Earth or any other program or device to search for a view of any
      location discussed in the testimony.


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      5. Do not read, watch, or listen to any accounts or discussions
      related to the case which may be reported by newspapers,
      television, radio, the Internet, or any other news media.

      6. Do not attempt to research any fact, issue, or law related to this
      case, whether by discussions with others, by library or Internet
      research, or by any other means or source.

      In this age of instant electronic communication and research, I want to

emphasize that in addition to not talking face to face with anyone about the case,

you must not communicate with anyone about the case by any other means,

including by telephone, text messages, email, Internet chat, chat rooms, blogs,

or social-networking websites and apps such as Facebook, Instagram, Snapchat,

YouTube, or Twitter. You may not use any similar technology of social media,

even if I have not specifically mentioned it here.

      You must not provide any information about the case to anyone by any

means whatsoever, and that includes posting information about the case, or

what you are doing in the case, on any device or Internet site, including blogs,

chat rooms, social websites, or any other means.

      You also must not use Google or otherwise search for any information

about the case, or the law that applies to the case, or the people involved in the

case, including the defendant, the witnesses, the lawyers, or the judge. It is

important that you understand why these rules exist and why they are so

important:

      Our law does not permit jurors to talk with anyone else about the case, or

to permit anyone to talk to them about the case, because only jurors are




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authorized to render a verdict. Only you have been found to be fair and only you

have promised to be fair – no one else is so qualified.

       Our law also does not permit jurors to talk among themselves about the

case until the court tells them to begin deliberations, because premature

discussions can lead to a premature final decision.

       Our law also does not permit you to visit a place discussed in the

testimony. First, you can’t be sure that the place is in the same condition as it

was on the day in question. Second, even if it were in the same condition, once

you go to a place discussed in the testimony to evaluate the evidence in light of

what you see, you become a witness, not a juror. As a witness, you may now have

a mistaken view of the scene that neither party may have a chance to correct.

That is not fair.

       Finally, our law requires that you not read or listen to any news accounts

of the case, and that you not attempt to research any fact, issue, or law related

to the case. Your decision must be based solely on the testimony and other

evidence presented in this courtroom. Also, the law often uses words and phrases

in special ways, so it’s important that any definitions you hear come only from

me, and not from any other source. It wouldn’t be fair to the parties for you to

base your decision on some reporter’s view or opinion, or upon other information

you acquire outside the courtroom.

       These rules are designed to help guarantee a fair trial, and our law

accordingly sets forth serious consequences if the rules are not followed. I trust



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that you understand and appreciate the importance of following these rules, and

in accord with your oath and promise, I know you will do so.

Taking notes:

      Moving on now, if you wish, you may take notes to help you remember

what witnesses said. If you do take notes, please keep them to yourself until you

and your fellow jurors go to the jury room to decide the case. Do not let note-

taking distract you so that you do not hear other answers by witnesses. When

you leave the courtroom, your notes should be left in the jury room. Whether or

not you take notes, you should rely on your own memory of what was said. Notes

are to assist your memory only. They are not entitled to any greater weight than

your memory or impression about the testimony.

Course of the trial:

      The trial will now begin. First, the government will make an opening

statement, which is simply an outline to help you understand the evidence as it

comes in. Next, the defendant’s attorney may, but does not have to, make an

opening statement. Opening statements are neither evidence nor argument.

      The government will then present its witnesses, and counsel for the

defendant may cross-examine them. Following the government’s case, the

defendant may, if he wishes, present witnesses whom the government may cross-

examine. After all the evidence is in, the attorneys will present their closing

arguments to summarize and interpret the evidence for you, and I will instruct

you on the law. After that, you will go to the jury room to decide your verdict.



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ANNOTATIONS AND COMMENTS

No annotations associated with this instruction.




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                                      B1
                           Face Page - Introduction

                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF GEORGIA
                          AUGUSTA DIVISION

UNITED STATES OF AMERICA
                                               CASE NO. 1:21- CR- 0048
-vs-

SAMMIE LEE SIAS


                           COURT’S INSTRUCTIONS
                               TO THE JURY

Members of the Jury:

       It’s my duty to instruct you on the rules of law that you must use in

deciding this case. After I’ve completed these instructions, you will go to the jury

room and begin your discussions – what we call your deliberations.

       You must decide whether the Government has proved the specific facts

necessary to find the Defendant guilty beyond a reasonable doubt.

ANNOTATIONS AND COMMENTS

No annotations associated with this instruction.




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                                 B2.1
  The Duty to Follow Instructions And the Presumption of Innocence

      Your decision must be based only on the evidence presented here. You

must not be influenced in any way by either sympathy for or prejudice against

the Defendant or the Government.

      You must follow the law as I explain it – even if you do not agree with the

law – and you must follow all of my instructions as a whole. You must not single

out or disregard any of the Court's instructions on the law.

      The indictment or formal charge against a defendant isn’t evidence of

guilt. The law presumes every defendant is innocent. The Defendant does not

have to prove his innocence or produce any evidence at all. The Government

must prove guilt beyond a reasonable doubt. If it fails to do so, you must find the

Defendant not guilty.

ANNOTATIONS AND COMMENTS

In re Winship, 397 U.S. 358, 364, 90 S. Ct. 1068, 1073, 25 L. Ed. 2d 368 (1970)
(The due process clause protects all criminal defendants “against conviction
except upon proof beyond a reasonable doubt of every fact necessary to constitute
the crime with which he is charged.”); see also Harvell v. Nagle, 58 F.3d 1541,
1542 (11th Cir. 1995), reh’g denied, 70 F.3d 1287 (11th Cir. 1995).




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                                    B2.2
           The Duty to Follow Instructions and the Presumption Of
                Innocence When a Defendant Does Not Testify

          Your decision must be based only on the evidence presented during the

trial. You must not be influenced in any way by either sympathy for or prejudice

against the Defendant or the Government.

          You must follow the law as I explain it – even if you do not agree with the

law – and you must follow all of my instructions as a whole. You must not single

out or disregard any of the Court's instructions on the law.

          The indictment or formal charge against a Defendant isn’t evidence of

guilt. The law presumes every Defendant is innocent. The Defendant does not

have to prove his innocence or produce any evidence at all. A Defendant does not

have to testify, and if the Defendant chose not to testify, you cannot consider that

in any way while making your decision. The Government must prove guilt

beyond a reasonable doubt. If it fails to do so, you must find the Defendant not

guilty.

ANNOTATIONS AND COMMENTS

United States v. Teague, 953 F.2d 1525, 1539 (11th Cir. 1992), cert. denied, 506
U.S. 842, 113 S. Ct. 127, 121 L. Ed. 2d 82 (1992), Defendant who does not testify
is entitled to instruction that no inference may be drawn from that election; see
also United States v. Veltman, 6 F.3d 1483, 1493 (11th Cir. 1993) (Court was
“troubled” by “absence of instruction on the presumption of innocence at the
beginning of the trial… Although the court charged the jury on the presumption
before they retired to deliberate, we believe it extraordinary for a trial to
progress to that stage with nary a mention of this jurisprudential bedrock.”)




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                                      B3
                      Definition of “Reasonable Doubt”

        The Government's burden of proof is heavy, but it doesn’t have to prove a

Defendant's guilt beyond all possible doubt. The Government's proof only has to

exclude any “reasonable doubt” concerning the Defendant's guilt.

        A “reasonable doubt” is a real doubt, based on your reason and common

sense after you’ve carefully and impartially considered all the evidence in the

case.

        “Proof beyond a reasonable doubt” is proof so convincing that you would

be willing to rely and act on it without hesitation in the most important of your

own affairs. If you are convinced that the Defendant has been proved guilty

beyond a reasonable doubt, say so. If you are not convinced, say so.

ANNOTATIONS AND COMMENTS

United States v. Daniels, 986 F.2d 451 (11th Cir. 1993), opinion readopted on
rehearing, 5 F.3d 495 (11th Cir. 1993), cert. denied, 511 U.S. 1054, 114 S. Ct.
1615, 128 L. Ed. 2d 342 (1994) approves this definition and instruction
concerning reasonable doubt; see also United States v. Morris, 647 F.2d 568
(5th Cir. 1981); Victor v. Nebraska, 511 U.S. 1, 114 S. Ct. 1239, 127 L. Ed. 2d
583 (1994) (discussing “reasonable doubt” definition and instruction).




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                                  B4
         Consideration of Direct and Circumstantial Evidence;
            Argument of Counsel; Comments by the Court

      As I said before, you must consider only the evidence that I have admitted

in the case. Evidence includes the testimony of witnesses and the exhibits

admitted. But, anything the lawyers say is not evidence and isn’t binding on you.

      You shouldn’t assume from anything I’ve said that I have any opinion

about any factual issue in this case. Except for my instructions to you on the law,

you should disregard anything I may have said during the trial in arriving at

your own decision about the facts.

      Your own recollection and interpretation of the evidence is what matters.

      In considering the evidence you may use reasoning and common sense to

make deductions and reach conclusions. You shouldn’t be concerned about

whether the evidence is direct or circumstantial.

      “Direct evidence” is the testimony of a person who asserts that he or she

has actual knowledge of a fact, such as an eyewitness.

      “Circumstantial evidence” is proof of a chain of facts and circumstances

that tend to prove or disprove a fact. There’s no legal difference in the weight

you may give to either direct or circumstantial evidence.

ANNOTATIONS AND COMMENTS

United States v. Clark, 506 F.2d 416 (5th Cir. 1975), cert. denied, 421 U.S. 967,
95 S. Ct. 1957, 44 L. Ed. 2d 454 (1975) approves the substance of this instruction
concerning the lack of distinction between direct and circumstantial evidence;
see also United States v. Barnette, 800 F.2d 1558, 1566 (11th Cir. 1986), reh’g
denied, 807 F.2d 999 (11th Cir. 1986), cert. denied, 480 U.S. 935, 107 S. Ct. 1578,
94 L. Ed. 2d 769 (1987) (noting that the “test for evaluating circumstantial


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evidence is the same as in evaluating direct evidence”) (citing United States v.
Henderson, 693 F.2d 1028, 1030 (11th Cir. 1982)).

United States v. Hope, 714 F.2d 1084, 1087 (11th Cir. 1983) (“A trial judge may
comment upon the evidence as long as he instructs the jury that it is the sole
judge of the facts and that it is not bound by his comments and as long as the
comments are not so highly prejudicial that an instruction to that effect cannot
cure the error.”) (citing United States v. Buchanan, 585 F.2d 100, 102 (5th Cir.
1978)). See also United States v. Jenkins, 901 F.2d 1075 (11th Cir. 1990).

United States v. Granville, 716 F.2d 819, 822 (11th Cir. 1983) notes that the jury
was correctly instructed that the arguments of counsel should not be considered
as evidence (citing United States v. Phillips, 664 F.2d 971, 1031 (5th Cir. 1981));
see also United States v. Siegel, 587 F.2d 721, 727 (5th Cir. 1979).

For an alternative description of evidence, see Preliminary Instruction, “what is
evidence.”




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                                     B5
                          Credibility of Witnesses

      When I say you must consider all the evidence, I don’t mean that you must

accept all the evidence as true or accurate. You should decide whether you

believe what each witness had to say, and how important that testimony was. In

making that decision you may believe or disbelieve any witness, in whole or in

part. The number of witnesses testifying concerning a particular point doesn’t

necessarily matter.

      To decide whether you believe any witness I suggest that you ask yourself

a few questions:

      •   Did the witness impress you as one who was telling the truth?

      •   Did the witness have any particular reason not to tell the truth?

      •   Did the witness have a personal interest in the outcome of the
          case?

      •   Did the witness seem to have a good memory?

      •   Did the witness have the opportunity and ability to accurately
          observe the things he or she testified about?

      •   Did the witness appear to understand the questions clearly and
          answer them directly?

      •   Did the witness's testimony differ from other testimony or other
          evidence?

ANNOTATIONS AND COMMENTS

No annotations associated with this instruction.




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                                B6.1
     Impeachment of Witnesses Because of Inconsistent Statements

         You should also ask yourself whether there was evidence that a witness

testified falsely about an important fact. And ask whether there was evidence

that at some other time a witness said or did something, or didn’t say or do

something, that was different from the testimony the witness gave during this

trial.

         But keep in mind that a simple mistake doesn’t mean a witness wasn’t

telling the truth as he or she remembers it. People naturally tend to forget some

things or remember them inaccurately. So, if a witness misstated something, you

must decide whether it was because of an innocent lapse in memory or an

intentional deception. The significance of your decision may depend on whether

the misstatement is about an important fact or about an unimportant detail.

ANNOTATIONS AND COMMENTS

See United States v. D’Antignac, 628 F.2d 428, 435-36 n.10 (5th Cir. 1980), cert.
denied, 450 U.S. 967, 101 S. Ct. 1485, 67 L. Ed. 2d 617 (1981) (approving a
previous version of this instruction used in conjunction with Basic Instruction 5
and Special Instruction 2.1 as befitted the facts of that case). See also United
States v. McDonald, 620 F.2d 559, 565 (5th Cir. 1980), and United States v.
Soloman, 856 F.2d 1572, 1578 (11th Cir. 1988), reh’g denied, 863 F.2d 890 (1988),
cert. denied, 489 U.S. 1070, 109 S. Ct. 1352, 103 L. Ed. 2d 820 (1989).




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                                   B6.3
              Impeachment of Witnesses Because of Inconsistent
         Statements (Defendant with No Felony Conviction Testifies)

         You should also ask yourself whether there was evidence that a witness

testified falsely about an important fact. And ask whether there was evidence

that at some other time a witness said or did something, or didn’t say or do

something, that was different from the testimony the witness gave during this

trial.

         But keep in mind that a simple mistake doesn’t mean a witness wasn’t

telling the truth as he or she remembers it. People naturally tend to forget some

things or remember them inaccurately. So, if a witness misstated something, you

must decide whether it was because of an innocent lapse in memory or an

intentional deception. The significance of your decision may depend on whether

the misstatement is about an important fact or about an unimportant detail.

         A defendant has a right not to testify. But since the Defendant did testify,

you should decide whether you believe the Defendant’s testimony in the same

way as that of any other witness.

ANNOTATIONS AND COMMENTS

No annotations associated with this instruction.




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                                    B7
                               Expert Witness

      When scientific, technical or other specialized knowledge might be

helpful, a person who has special training or experience in that field is allowed

to state an opinion about the matter.

      But that doesn’t mean you must accept the witness’s opinion. As with any

other witness’s testimony, you must decide for yourself whether to rely upon the

opinion.

ANNOTATIONS AND COMMENTS

United States v. Johnson, 575 F.2d 1347, 1361 (5th Cir. 1978), cert. denied, 440
U.S. 907, 99 S. Ct. 1214, 59 L. Ed. 2d 454 (1979).




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                                    B8
                   Introduction to Offense Instructions

      The indictment charges two separate crimes, called “counts,” against the

Defendant. Each count has a number. You’ll be given a copy of the indictment to

refer to during your deliberations.

      Count One charges that on or about August 5, 2019, in Richmond County,

within the Southern District of Georgia, the Defendant did knowingly alter,

destroy, mutilate, conceal, and coverup records, documents and other objects, to

wit, digital files belonging to Sandridge Community Association (SCA), which

included invoices, spreadsheets, work orders, payments, agendas, minutes,

financial reports and other documentation of Jamestown Community Center

(Jamestown), Jamestown Special Purpose Local Option Sales Tax (SPLOST),

SCA Board of Directors, SCA Summer Camp, with the intent to impede, obstruct,

and influence the investigation and proper administration of a federal criminal

grand jury investigation, a matter that the defendant knew was within the

jurisdiction of the Department of Justice and Federal Bureau of Investigation, a

department and agency of the United States. All in violation of Title 18, United

States Code, Section 1519.

      Count Two charges that on or about August 9, 2019, in Richmond County,

within the Southern District of Georgia, the Defendant did willfully and

knowingly make a materially false, fictitious, and fraudulent statement and

representation in a matter within the jurisdiction of the Department of Justice,

an agency of the United States, by falsely and fraudulently representing to


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Special Agent Charles McKee of the Federal Bureau of Investigation, at the

residence of the Defendant, in Hephzibah, Georgia, in the Southern District of

Georgia, that the Defendant, had provided all electronic and paper files in his

possession related to Sandridge Community Association and Jamestown. The

statement and representation were false because, as the Defendant then and

there knew, on August 5 and 6, 2019, the Defendant had not provided all

electronic and paper files in his possession related to Sandridge Community

Association and Jamestown and, instead, still possessed digital files belonging

to Sandridge Community Association (SCA), which included invoices,

spreadsheets, work orders, payments, agendas, minutes, financial reports and

other documentation of Jamestown, Jamestown Special Purpose Local Option

Sales Tax (SPLOST), SCA Board of Directors, SCA Summer Camp. All in

violation of Title 18, United States Code, Section 1001.

      I will explain the law governing these offenses in a moment.

ANNOTATIONS AND COMMENTS

No annotations associated with this instruction.




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                                       B8.1

                       Conjunctively Charged Counts

      Where a statute specifies multiple alternative ways in which an offense

may be committed, the indictment may allege the multiple ways in the

conjunctive, that is, by using the word “and.” If only one of the alternatives is

proved beyond a reasonable doubt, that is sufficient for conviction, so long as you

agree unanimously as to that alternative.


ANNOTATIONS AND COMMENTS

“[I]t is well-established . . . that a disjunctive statute may be pleaded
conjunctively and proved disjunctively.” United States v. Williams, 790 F.3d
1240, 1245 n.2 (11th Cir. 2015) (quoting United States v. Haymes, 610 F.2d 309,
310 (5th Cir. 1980) (citing United States v. Quiroz-Carrasco, 565 F.2d 1328, 1331
(5th Cir. 1978)); see also Bonner v. City of Prichard, 661 F.2d 1206, 1209 (11th
Cir. 1981) (adopting as binding precedent all decisions of the former Fifth Circuit
issued on or before September 30, 1981).

In other words, “when a defendant is charged in an indictment conjunctively
with alternative means or alternative mental states, any one of which will satisfy
an element of the crime, the ‘jury instruction may properly be framed in the
disjunctive’ without a constructive amendment taking place.” United States v.
Mozie, 752 F.3d 1271, 1284 (11th Cir. 2014) (quoting United States v. Simpson,
228 F.3d 1294, 1300 (11th Cir. 2000)). “The rule applies not only to alternative
acts that satisfy a statutory element, but also to alternative mental states that
may satisfy an element.” Id. (citing Haymes, 610 F.2d at 310–11).

 “This is not only a permissible practice but also a common one.” Id. (quoting
United States v. Howard, 742 F.3d 1334, 1343 n.3 (11th Cir. 2014)) (“Prosecutors
can and frequently do . . . charge alternative elements in the conjunctive and
prove one or more of them in the disjunctive, which is constitutionally
permissible.”); see also Simpson, 228 F.3d at 1300.




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                                  B9.2
                On or About a Particular Date; Knowingly

      You’ll see that the indictment charges that a crime was committed “on or

about” a certain date. The Government doesn’t have to prove that the offense

occurred on an exact date. The Government only has to prove beyond a

reasonable doubt that the crime was committed on a date reasonably close to the

date alleged.

      The word “knowingly” means that an act was done voluntarily and

intentionally and not because of a mistake or by accident.

ANNOTATIONS AND COMMENTS

United States v. Creamer, 721 F.2d 342, 343 (11th Cir. 1983), “on or about”
language upheld in case in which alibi defense was used by the defendant; the
court “rejected the contention that time becomes a material element of a criminal
offense merely because the defense of alibi is advanced.” See also United States
v. Reed, 887 F.2d 1398 (11th Cir. 1989), reh’g denied, 891 F.2d 907 (1989), cert.
denied, 493 U.S. 1080, 110 S. Ct. 1136, 107 L. Ed. 2d 1041 (1990).




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                                  B9.1A
                On or About; Knowingly; Willfully – Generally

      You’ll see that the indictment charges that a crime was committed “on or

about” a certain date. The Government doesn’t have to prove that the crime

occurred on an exact date. The Government only has to prove beyond a

reasonable doubt that the crime was committed on a date reasonably close to the

date alleged.

      The word “knowingly” means that an act was done voluntarily and

intentionally and not because of a mistake or by accident.

      [The word “willfully” means that the act was committed voluntarily and

purposely, with the intent to do something the law forbids; that is, with the bad

purpose to disobey or disregard the law. While a person must have acted with

the intent to do something the law forbids before you can find that the person

acted “willfully,” the person need not be aware of the specific law or rule that his

conduct may be violating.]

ANNOTATIONS AND COMMENTS

The Definition of willfulness in this instruction can be used in most cases where
willfulness is an element. For crimes requiring a particularized knowledge of the
law being violated, such as tax and currency-structuring cases, use 9.1B’s
definition of willfulness.

The committee in its most recent revisions to the pattern instructions has
changed the approach to how “willfully” should be charged in the substantive
offenses which include it as an essential element of the offense. The previous
editions of the pattern instructions included the following definition that
historically has been used in most cases:

      The word “willfully,” as that term has been used from time to time
      in these instructions, means that the act was committed voluntarily
      and purposely, with the specific intent to do something the law
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      forbids; that is to say, with bad purpose either to disobey or
      disregard the law.

Although this definition has been useful as a general definition that
encompasses many different aspects of the legal concept of “willfulness” in a
concise and straightforward manner, the Committee has concluded, along with
every other Circuit Pattern Instruction Committee that has considered the issue,
that the definition is not accurate in every situation. A review of the case law
reveals how the courts have struggled with the meaning of “willfulness” as a
mens rea requirement for substantive criminal offenses. See Bryan v. United
States, 524. U.S. 184, 189-92, 114 S. Ct. 1939, 1944-45 (1998) (“The word
‘willfully’ is sometimes said to be ‘a word of many meanings’ whose construction
is often dependent on the context in which it appears.” (citing Spies v. United
States, 317 U.S. 492, 497, 63 S. Ct. 364, 367 (1943))); see also Ratzlaf v. United
States, 510 U.S. 135, 140-41, 114 S. Ct. 655, 659 (1994); United States v. Phillips,
19 F.3d 1565, 1576-84 (11th Cir. 1994) (noting the difficulty in defining “willfully”
and discussing the term in various contexts), amended to correct clerical errors,
59 F.3d 1095 (11th Cir. 1995); United States v. Granda, 565 F.2d 922, 924 (5th
Cir. 1978) (noting, inter alia, that “willfully” has defied any consistent
interpretation by the courts”); see generally United States v. Bailey, 444 U.S. 394,
403, 100 S. Ct. 624, 631 (1980) (“Few areas of criminal law pose more difficulty
that the proper definition of the mens rea requirement for any particular
crime.”).

Based on the case law, the Committee has concluded that the criminal offenses
that expressly include “willfulness” as an essential element can be divided into
two broad categories. For the first category (Instruction 9.1A, which
encompasses most offenses) “willfully” is defined to require that the offense be
committed voluntarily and purposely with the intent to do something unlawful.
However, the person need not be aware of the specific law or rule that his or her
conduct may be violating. This definition is narrower than the traditional
definition that has been used in our pattern charges in the past, but the
Committee believes that this narrower definition is required under the law. See,
e.g. Bryan v. United States, 524 U.S. 184, 118 S. Ct. 1939 (1998) (holding that
the term “willfully” in 18 U.S.C. §§ 922(a)(1)(A) and 924(a)(1)(D) requires proof
that the defendant knew that his conduct was generally unlawful, but does not
require that the defendant knew of the specific licensing requirement that he
was violating).

The second category of criminal offenses that have “willfulness” as an essential
element have a heightened mens rea requirement. For this limited class of
offenses, the Government must prove more than the defendant knew that his
conduct was done with a bad purpose to disobey the law in general. The
Government must prove that the defendant had an intent to violate a known
legal duty, that is with the specific intent to do something the law forbids. For
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these offenses, the Committee recommends that the definition of “willfully” in
Instruction 9.1B be given to the jury. These offenses include currency structuring
statutes and certain tax laws, which tend to involve “highly technical statutes
that present the danger of ensnaring individuals engaged in apparently innocent
conduct.” Bryan, 118 S. Ct. at 1946 – 47. For example, see Ratzlaf v. United
States, 114 S. Ct. 655 (1994) (holding that with respect to 31 U.S.C. § 5322(a)
and the monetary transaction provisions that it controls, the Government must
prove that the defendant acted willfully, i.e., with specific knowledge that the
structuring of currency transactions in which he was engaged was unlawful); see
also Cheek v. United States, 111 S. Ct. 604, 609-10 (1991) (explaining that due to
the complexity of tax laws, there is an exception to the general rule that
“ignorance of the law or a mistake of law is no defense to criminal prosecution,”
and “[t]he term ‘willfully’ [as used in certain federal criminal tax offenses]
connot[es] a ‘voluntary, intentional violation of a known legal duty’” (citing
United States v. Pomponio, 429 U.S. 10, 12, 97 S. Ct. 22, 23 (1976) and United
States v. Bishop, 412, U.S. 346, 360-61, 93 S. Ct. 2008, 2017 (1973))). In Cheek,
the Supreme Court found error in the trial court’s instruction to the jury that in
order for the defendant’s belief that he was not violating the law to be a defense,
his good-faith belief must have been objectively reasonable. The Court further
explained, however, that “a defendant’s views about the validity of the tax
statutes are irrelevant to the issue of willfulness and need not be heard by the
jury, and, if they are, an instruction to disregard them would be proper.” Cheek,
498 U.S. at 206, 111 S. Ct. at 613.

The Committee observes that the required mental state may be different even
for different elements of the same crime. This possibility should be considered
when determining what definition of mens rea should be charged. See Liparota
v. United States, 471 U.S. 419, 423, 105 S. Ct. 2084, 2087 n.5 (1985).

Note: If the Defendant raises a good faith defense, it may be appropriate to give
Special Instruction 9 [Good Faith Defense to Willfulness (as under the Internal
Revenue Code)], Special Instruction 18 [Good Faith Reliance Upon Advice of
Counsel].




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                                     O36
                    False Statement to a Federal Agency
                               18 U.S.C. § 1001

      It’s a Federal crime to willfully make a false or fraudulent statement to a

department or agency of the United States.

      The Defendant can be found guilty of this crime only if all the following

facts are proved beyond a reasonable doubt:

      (1) the Defendant made the statement, as charged;

      (2) the statement was false;

      (3) the falsity concerned a material matter;

      (4) the Defendant acted willfully, knowing that the statement was
           false; and

      (5) the false statement was made or used for a matter within the
           jurisdiction of a department or agency of the United States.

      A statement document is “false” when made if it is untrue when made and

the person making it knows it is untrue. The Government doesn’t have to show

that the Governmental agency or department was, in fact, deceived or misled.

      The Federal Bureau of Investigation is an agency of the United States.

      The making of a false statement is not a crime unless the falsity relates

to a “material” fact.

      A “material fact” is an important fact – not some unimportant or trivial

detail – that has a natural tendency to influence or is capable of influencing a

decision of a department or agency in reaching a required decision.




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ANNOTATIONS AND COMMENTS

18 U.S.C. § 1001(a) provides:

      … [W]hoever, in any matter within the jurisdiction of the executive,
   legislative, or judicial branch of the Government of the United States,
   knowingly and willfully - - (1) falsifies… a material fact; (2) makes any
   materially false, fictitious or fraudulent statement or representation; or (3)
   makes or uses any false writing or document knowing the same to contain
   any materially false, fictitious or fraudulent statement or entry [shall be
   guilty of an offense against the United States.]

Maximum Penalty: Five (5) years imprisonment and applicable fine.

The enumeration of the elements of the offense is taken from United States v.
Calhoon, 97 F.3d 518, 523 (11th Cir. 1996).

In Arthur Pew Const. Co. v. Lipscomb, 965 F.2d 1559, 1576 (11th Cir. 1992), the
court held that misrepresentation for purposes of § 1001 must be deliberate,
knowing, and willful, or at least have been made with a reckless disregard of the
truth and a conscious purpose to avoid telling the truth.

In United States v. Gaudin, 515 U.S. 506, 115 S. Ct. 2310, 132 L. Ed. 2d 444
(1995), the Supreme Court held that the materiality of a false statement under
this section is a jury question, and that failure to submit the question of
materiality to the jury constitutes reversible error. See United States v. Klais, 68
F.3d 1282, 1283 (11th Cir. 1995) (recognizing holding). The Eleventh Circuit has
held that for a conviction to be sustained under § 1001, “it is imperative that the
writing or document be ‘false.’” United States v. Blankenship, 382 F.3d 1110,
1132 (11th Cir. 2004). Where the writing or document at issue is a contract, the
Court of Appeals further held that there are only two ways in which a contract
can possibly be considered false: (1) where a person forges or alters it, or (2)
where it contains “factual misrepresentations.” Id.

The materiality definition is adopted from Gaudin, 115 S. Ct. at 2313, and
United States v. Lichenstein, 610 F.2d 1272 (5th Cir. 1980). See United States v.
Grizzle, 933 F.2d 943, 948 (11th Cir. 1991); United States v. Herring, 916 F.2d
1543, 1547 (11th Cir. 1990); United States v. Gafyczk, 847 F.2d 685, 691 (11th Cir.
1988).

The “exculpatory no” doctrine as an exception to the scope of the offense (see
United States v. Payne, 750 F.2d 844, 861 (11th Cir. 1985)) was repudiated by the
Supreme Court in Brogan v. United States, 522 U.S. 398, 118 S. Ct. 805, 139 L.
Ed. 2d 830 (1998).


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The committee believes that the general definition of “willfully” in Basic
Instruction 9.1A would usually apply to this crime.




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                                   G1
    Destruction, Alteration, or Falsification of Records in a Federal
                              Investigation
                             18 U.S.C. § 1519

         It is a Federal crime for anyone to knowingly alter, destroy, mutilate,

conceal, cover up, with the intent to impede, obstruct, and influence the

investigation of the proper administration of a matter within the jurisdiction of

any department or agency of the United States.

         For you to find the defendant guilty of this crime, you must be convinced

that the government has proved each of the following beyond a reasonable

doubt:

First:         That the defendant knowingly altered, destroyed, mutilated,

               concealed, or covered up a record or document;

Second:        That the defendant acted with the intent to impede, obstruct, or

               influence the investigation or the proper administration of a

               federal criminal grand jury investigation; and

Third:         That the matter was within the jurisdiction of the Federal Bureau

               of Investigation and the Department of Justice, an agency and

               department of the United States.

         There is no requirement that the matter or investigation have been

pending or imminent at the time of the obstruction, but only that the acts were

taken in relation to or in contemplation of any such matter or investigation.

         The government is not required to prove that the defendant specifically

knew the matter or investigation was within the jurisdiction of a department or


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agency of the United States. In other words, you need not find the defendant

knew he was obstructing, impeding, or influencing a matter that was federal in

nature.

ANNOTATIONS AND COMMENTS

S1 Modern Federal Jury Instructions-Criminal 2.65 (2022)
Destroying, Altering, Or Falsifying A Document In A Federal Investigation
18 U.S.C. § 1519. Fifth Circuit.




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                                     B10.2
                              Caution: Punishment
                      (Single Defendant, Multiple Counts)

         Each count of the indictment charges a separate crime. You must consider

each crime and the evidence relating to it separately. If you find the Defendant

guilty or not guilty of one crime, that must not affect your verdict for any other

crime.

         I caution you that the Defendant is on trial only for the specific crimes

charged in the indictment. You’re here to determine from the evidence in this

case whether the Defendant is guilty or not guilty of those specific crimes.

         You must never consider punishment in any way to decide whether the

Defendant is guilty. If you find the Defendant guilty, the punishment is for the

Judge alone to decide later.

ANNOTATIONS AND COMMENTS

There may be cases in which the last sentence of the first paragraph of this
instruction is inappropriate and should be deleted. This may occur, for example,
in prosecutions under 18 U.S.C. § 1962 (RICO offenses) or 21 U.S.C. § 848
(Continuing Criminal Enterprise offenses) where the indictment is structured so
that a conviction of one count or counts (sometimes called “predicate offenses”)
is necessary to a conviction of another count or counts.




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                                 S2.1
             Confession or Statement of a Single Defendant

      If the Government offers evidence that a Defendant made a statement or

admission to someone after being arrested or detained, you must consider that

evidence with caution and great care.

      You must decide for yourself (1) whether the Defendant made the

statement, and (2) if so, how much weight to give to it. To make these decisions,

you must consider all the evidence about the statement – including the

circumstances under which it was made.

ANNOTATIONS AND COMMENTS

See United States v. Clemons, 32 F.3d 1504, 1510 (11th Cir. 1994), cert. denied,
115 S. Ct. 1801, 131 L. Ed. 2d 728 (1995).




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                                    T3
                        Explanatory Instruction
                Transcript of Tape Recorded Conversation

Members of the Jury: Exhibit _____ has been identified as a typewritten

transcript of the oral conversation heard on the tape recording received in

evidence as Exhibit _____.

      I’ve admitted the transcript for the limited and secondary purpose of

helping you follow the content of the conversation as you listen to the tape

recording.]

      But you are specifically instructed that whether the transcript correctly

reflects the content of the conversation is entirely for you to decide based on your

own evaluation of the testimony you have heard about the preparation of the

transcript, and from]your own examination of the transcript in relation to

hearing the tape recording itself as the primary evidence of its own contents.

      If you determine that the transcript is in any respect incorrect or

unreliable, you should disregard it to that extent.

ANNOTATIONS AND COMMENTS

United States v. Nixon, 918 F.2d 895 (11th Cir. 1990), held that transcripts are
admissible in evidence, including transcripts that purport to identify the
speakers, and specifically approved the text of this instruction as given at the
time the transcripts were offered and received.




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                                     S5
                                 Note-taking

      You’ve been permitted to take notes during the trial. Most of you –

perhaps all of you – have taken advantage of that opportunity.

      You must use your notes only as a memory aid during deliberations. You

must not give your notes priority over your independent recollection of the

evidence. And you must not allow yourself to be unduly influenced by the notes

of other jurors.

      I emphasize that notes are not entitled to any greater weight than your

memories or impressions about the testimony.

ANNOTATIONS AND COMMENTS

No annotations associated with this instruction.




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                                     B11
                              Duty to Deliberate

        Your verdict, whether guilty or not guilty, must be unanimous – in other

words, you must all agree. Your deliberations are secret, and you’ll never have

to explain your verdict to anyone.

        Each of you must decide the case for yourself, but only after fully

considering the evidence with the other jurors. So you must discuss the case with

one another and try to reach an agreement. While you’re discussing the case,

don’t hesitate to reexamine your own opinion and change your mind if you

become convinced that you were wrong. But don’t give up your honest beliefs just

because others think differently or because you simply want to get the case over

with.

        Remember that, in a very real way, you’re judges – judges of the facts.

Your only interest is to seek the truth from the evidence in the case.

ANNOTATIONS AND COMMENTS

See United States v. Brokemond, 959 F.2d 206, 209 (11th Cir. 1992). See also
United States v. Cook, 586 F.2d 572 (5th Cir. 1978), reh’g denied, 589 F.2d 1114
(1979), cert. denied, 442 U.S. 909, 99 S. Ct. 2821, 61 L. Ed. 2d 274 (1979); United
States v. Dunbar, 590 F.2d 1340 (5th Cir. 1979).




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                                       B12
                                      Verdict

       When you get to the jury room, choose one of your members to act as

foreperson. The foreperson will direct your deliberations and will speak for you

in court.

       A verdict form has been prepared for your convenience.

                                 [Explain verdict]

       Take the verdict form with you to the jury room. When you’ve all agreed

on the verdict, your foreperson must fill in the form, sign it, date it, and carry it.

Then you’ll return it to the courtroom.

       If you wish to communicate with me at any time, please write down your

message or question and give it to the marshal. The marshal will bring it to me

and I’ll respond as promptly as possible – either in writing or by talking to you

in the courtroom. But I caution you not to tell me how many jurors have voted

one way or the other at that time.

ANNOTATIONS AND COMMENTS

United States v. Norton, 867 F.2d 1354, 1365-66 (11th Cir. 1989), cert. denied, 491
U.S. 907, 109 S. Ct. 3192, 105 L. Ed. 2d 701 (1989) and 493 U.S. 871, 110 S. Ct.
200, 107 L. Ed. 2d 154 (1989) notes that the Court should not inquire about, or
disclose, numerical division of the jury during deliberations but states that
“[r]eversal may not be necessary even where the trial judge undertakes the
inquiry and thereafter follows it with an Allen charge, absent a showing that
either incident or a combination of the two was inherently coercive.” See United
States v. Brokemond, 959 F.2d 206, 209 (11th Cir. 1992). See also United States
v. Cook, 586 F.2d 572 (5th Cir. 1978), reh’g denied, 589 F.2d 1114 (1979), cert.
denied, 442 U.S. 909, 99 S. Ct. 2821, 61 L. Ed. 2d 274 (1979).




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                              CERTIFICATE OF SERVICE


       This is to certify that I have on this day served all the parties in this case in

accordance with the notice of electronic filing (“NEF”) which was generated as a result

of electronic filing in this Court.

       This 8th day of July, 2022.

                                          Respectfully submitted,

                                          DAVID H. ESTES
                                          UNITED STATES ATTORNEY

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